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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                 No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.




                NOTICE OF FILING OF THE PARTIES’ JOINT GLOSSARY

         The Parties hereby notify the Court that they have agreed to a Joint Glossary (“Glossary”)

  as discussed most recently at the hearing on September 4, 2024 to be available to assist the Court

  as the trial proceeds. The Glossary is attached hereto as Exhibit A.
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  Dated: September 8, 2024              Respectfully submitted,

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                                 Exhibit A

                              Joint Glossary
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          Term                                           Definition
   (Ad) Inventory         The space accompanying publishers’ digital content in which an
                          advertiser’s ad can be placed. When a user visits a publisher’s digital
                          property, an impression is created in the inventory space. Publishers
                          monetize their ad inventory by selling individual impressions to
                          advertisers.
   Ad exchange(s)         A tool that connects owners of digital content where people see ads
                          (“publishers”), who have ad inventory to sell, with advertisers looking
                          to place ads, often (but not always) directly through an auction-based
                          system via advertising buying tools. Ad exchanges are sometimes
                          referred to as supply-side platforms (SSPs).
   Admeld                 A yield manager that Google originally acquired in 2011.
   Advertiser buying      A tool that provides advertisers the opportunity to purchase digital
   tool/buy-side          advertising inventory. Examples include Google’s offerings Google
   tool/bidding tool      Ads and DV360.
   AdX                    Google’s ad exchange, now accessible through the Google Ad
                          Manager user interface.
   Authorized Buyers      Non-Google advertiser buying tools that are authorized by Google to
                          participate in AdX auctions.
   AwBid                  A Google program through which advertisers using Google Ads can
                          purchase certain types of digital advertising inventory via non-Google
                          ad exchanges.
   Buy-side               The advertiser or advertiser-facing side of digital advertising.
   Cost per click (CPC)   A quantitative metric capturing how much advertisers pay for each
                          instance in which a user clicks on their ad. Defined as advertiser cost
                          divided by clicks. When advertisers are charged on a CPC basis, they
                          pay for an ad only when the user shown the ad clicks on it.
   Cost per mille         A quantitative metric capturing how much advertisers pay per
   (CPM)                  thousand (mille) impressions. Defined as advertiser cost divided by
                          impressions (in thousands).
   Demand side            A type of advertiser buying tool that allows advertisers to manage and
   platform (“DSP”)       submit real-time bids for digital advertising inventory.
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           Term                                           Definition
   Direct transactions   Also known as a direct sale or direct purchase. A digital advertising
                         transaction in which a publisher sells its inventory directly to an
                         advertiser (i.e., not through third-party intermediaries, or in which the
                         role of third-party intermediaries is lessened). Direct sales can occur
                         both via automated (i.e., programmatic) and non-automated means.
   Display & Video 360 One of Google’s advertiser buying tools. Formerly known as
   (“DV360”)           DoubleClick Bid Manager (DBM).
   Display advertising   A visual type of digital advertising that relies on animation, images,
                         text, and/or video. Display advertising can appear on internet-
                         connected devices including desktop and laptop computers, tablets,
                         and mobile phones (including in apps), and connected TV devices.

   DoubleClick for       Google’s publisher ad server, now accessible through the Google Ad
   Publishers (“DFP”)    Manager user interface. Google originally acquired DFP through its
                         acquisition of DoubleClick in 2008.
   Enhanced Dynamic      A feature of DFP that allows indirect sales to compete with direct
   Allocation (EDA)      sales, including those with guaranteed commitments.

   First-price auction   An auction in which the winner of the auction is the bidder with the
                         highest bid, and that bidder pays its bid.
   Google Ads            Google defines Google Ads as its “advertiser-facing component of
                         Google’s ad network, which advertisers can use to set up media
                         campaigns to show digital ads on Google-owned inventory and third-
                         party partner websites.”
   Header bidding        A technology through which publishers can solicit and receive bids for
                         their ad inventory. “Client-side” implementations of header bidding
                         involve sending ad requests and receiving bids via code on the
                         publisher’s site; “server-side” implementations involve a centralized
                         server sending ad requests and receiving bids.

   Header bidding        A container for header bidding code.
   wrapper




   Impression            A single digital advertisement shown (or to be shown) for a single user
                         on a single occasion. An impression is created when an internet user
                         visits a digital property, and advertisers purchase individual
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           Term                                           Definition
                           impressions to show ads to the specific internet user viewing the
                           digital property at a given time.



   Indirect transactions   Also known as an indirect sale or indirect purchase. A digital
                           advertising transaction in which a publisher sells an impression
                           indirectly to an advertiser (i.e., through third-party intermediaries).
                           Indirect sales often occur through an automated (i.e., programmatic)
                           auction process in which an impression (generated when a user visits a
                           publisher’s digital property) is auctioned to advertisers.


   Line Items              Information that publishers enter into a publisher ad server (including
                           DFP) regarding sources of ads that can be served on the publishers’
                           properties, including priority, targeting, and pricing information.
   Open Auction            A digital advertising transaction in which the impression is auctioned
   Transaction             and in which most or all of the buyers with access to the exchange can
                           participate in the auction.

   Owned and operated      Owned & operated inventory is sometime referred to as “O&O.”
   (O&O) inventory
   Preferred deal (PD)     A type of programmatic direct transaction in which a specific
                           buyer is given an initial (i.e., preferred) opportunity to buy an
                           impression (but the purchase/sale is not guaranteed).

   Private                 A digital advertising transaction in which an impression is offered to a
   Auction/Private         limited set of buyers/advertisers selected by a publisher or small group
   Marketplace             of publishers.
   Programmatic direct     A direct transaction in which aspects of the transaction are automated.

   Programmatic            A type of programmatic direct transaction in which a publisher’s
   guaranteed (PG)         inventory is reserved (i.e., guaranteed) for a specific buyer.
   Publisher               An owner/operator of a digital property where users can be shown
                           advertisements.
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          Term                                           Definition
   Publisher ad server    A tool that helps publishers manage and sell their ad inventory,
                          including deciding what ad to show to a specific user and then
                          displaying that ad on the publisher’s digital property. Publisher ad
                          servers manage both direct and indirect ad transactions. The publisher
                          ad server generally contains the ultimate logic determining how the
                          publisher’s ad inventory is allocated.

   Real-time bidding      A method of submitting bids into an auction for the sale of an
   (RTB)                  impression, tailored to the specific characteristics of the impression
                          being sold, within the fractions of a second between which the
                          impression is generated (i.e., the time at which the user visits the
                          publisher’s digital property) and then sold.
   Revenue per mille      A quantitative metric capturing how much publishers receive per
   (RPM)                  thousand (mille) impressions. Defined as publisher revenue divided by
                          impressions (in thousands).
   Revenue Share /        A term used to describe a fee charged by ad tech intermediaries. For
   Take Rate              example, if an ad exchange retains 20 percent of buyers’ spending
                          through the exchange on average, the exchange’s average revenue
                          share or take rate is 20 percent.
   Second-price auction   An auction in which the winner of the auction is the bidder with the
                          highest bid, and that bidder pays the amount of the second-highest bid
                          (or the price floor, whichever is higher).
   Sell-side              The publisher or publisher-facing side of digital advertising.
   Supply-side platform   See “ad exchange.”
   (SSP)
   Waterfall              A process by which publisher ad servers would solicit or call different
                          demand sources sequentially to sell an ad impression.
